 1                                                                    Honorable Christopher M. Alston
                                                                           Hearing date: July 27, 2018
 2
                                                                              Hearing time: 9:30 a.m.
 3                                                                       Response date: July 20, 2018
                                                                                             Chapter 7
 4                                                                                   Location: Seattle
 5                                UNITED STATES BANKRUPTCY COURT
 6                                WESTERN DISTRICT OF WASHINGTON

 7
      In re                                             No. 17-14070
 8
      REYNALDO VINLUAN,                                 DECLARATION OF TRUSTEE IN
 9                                                      SUPPORT OF MOTION TO APPROVE
                                     Debtor.            SETTLEMENT
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11
              Edmund J. Wood declares and states as follows:
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              1.     I am the Trustee in this matter and have testimonial knowledge of the facts set
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     forth in this declaration.
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15            2.     The debtor filed the present Chapter 7 Bankruptcy Petition on September 15,

16   2017 and I was appointed as the Chapter 7 Trustee. The debtor listed his ownership interest in
17   the condominium located at 303 23rd Ave S, #606, Seattle, WA, stating the value of the property
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     to be $391,000.00, with consensual liens in the aggregate amount of $332,113.00, non-
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     consensual liens in the aggregate amount of $96,054.14, and claiming an exemption pursuant to
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21   11 U.S.C. § 522 (d)(1) in the amount of $23,675.00 (Docket No. 1). On October 31, 2017, an

22   order was entered approving the employment of Chad Tharp and Keller Williams Eastside as my

23   real estate agents to list the real property for sale. Following Mr. Tharp’s employment, the
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     debtor filed amended bankruptcy schedules on November 6, 2017 (Docket No. 6), changing the
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     value of the Property to $481,519.00 and claimed an exemption pursuant to RCW 6.13.030 in the
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     amount of $125,000. I filed timely objections to the debtor’s exemptions on November 7, 2017
27
                                                                              KATHRYN A. ELLIS, ESQ.
28                                                                                    5506 6th Ave S
                                                                                         Suite 207
     DECLARATION OF TRUSTEE IN SUPPORT                                              Seattle, WA 98108
     OF MOTION TO APPROVE SETTLEMENT - 1                                             (206) 682-5002


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 1   (Docket No. 22), November 17, 2017 (Docket No. 26) and November 20, 2017 (Docket No. 27).
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            3.       On December 14, 2017, the debtor filed a Motion for Order Authorizing Trustee
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     to Abandon Property of Estate (Docket No. 34), a Motion Authorizing Court to Accept Tender of
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     Funds into the Court Registry (Docket No. 36), and a Motion to Bring the Chapter 7 Trustee’s
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 6   Objection to Exemption Before the Court (Docket No. 37). All of such motions were denied on

 7   March 26, 2018 (Docket No. 67-69). I filed an adversary proceeding to avoid the second

 8   position consensual lien pursuant to 11 U.S.C. § 544 and/or 506 (d) on March 26, 2018 (Adv.
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     No. 18-01026). The defendants recorded a Deed of Reconveyance on or about April 26, 2018
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     and the relief requested was approved by the Court by default judgment entered on May 9, 2018.
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            4.       The debtor filed amended bankruptcy schedules on April 26, 2018, changing the
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13   value of the property to $399,000.00, with consensual liens in the aggregate amount of

14   $278,113.00, non-consensual liens in the aggregate amount of $96,563.92, and claimed an

15   exemption pursuant to RCW 6.13.030 in the amount of $125,000.00 (Docket No. 72). I filed a
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     timely objection to the debtor’s exemptions on May 11, 2018, noting the same for hearing on
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     June 13, 2018 (Docket No. 74). As set forth in my objection, and using either the debtor’s
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     originally scheduled value ($391,000.00) or the debtor’s most recently amended value
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20   ($399,000.00), there is no “net value” or equity to claim exempt. However, the estate will

21   realize value in the condominium from the avoidance of liens in the amount of approximately
22   $138,000.00 upon sale of the condominium, from the avoided second position lien ($108,000.00)
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     and the avoidance of the secured claim of the IRS for penalties and interest on penalties
24
     ($30,000.00).
25
            5.       To date, priority unsecured claims have been filed in the amount of $18,130.68,
26
27
                                                                              KATHRYN A. ELLIS, ESQ.
28                                                                                    5506 6th Ave S
                                                                                         Suite 207
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 1   general unsecured claims have been filed in the aggregate amount of $18,452.57 and an
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     unsecured penalty claim has been filed in the amount of $1,927.86, for total unsecured claims in
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     the amount of $38,511.11. Assuming I were to list the property for sale and receive a full price
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     offer, it is believed unsecured creditors would be paid in full, plus interest. Rather than have the
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 6   property sold, the debtor wishes to retain the property and settle the bankruptcy estate’s interest

 7   in the same for payment to the estate in the amount of $62,500. It is believed that this amount

 8   will be sufficient to pay costs of administration, all timely filed unsecured claims, plus interest
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     thereon, in full. The debtor will have a subordinated unsecured claim of $62,500.00 should this
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     amount be in excess of the funds necessary to pay all claims in full, with interest. A copy of the
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     proposed Settlement and Release Agreement is attached hereto as Exhibit 1.
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13          6.      It is my opinion, in my best business judgement, the settlement is optimum for

14   this case and should be approved by the Court.

15          7.      The compromise/settlement is fair, reasonable and adequately based on the facts
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     and circumstances. B.R. 9019(a) and 7023. The substantive terms of the settlement compare
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     favorably with the likely rewards of litigation. The process by which the settlement was reached
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     was arm’s length negotiation, and that all interests have been effectively represented.
19
20   //

21   //
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                                                                                KATHRYN A. ELLIS, ESQ.
28                                                                                      5506 6th Ave S
                                                                                           Suite 207
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 1              8.         Given the probability of success in the litigation, the risks inherent in all
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     litigation, complexity and its attendant expense, inconvenience and delay, and the paramount
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     interest of the creditors with a proper deference to their reasonable views, the settlement
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     proposed should be approved. The proposed settlement is believed to be above the “lowest point
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 6   in the range of reasonableness”, and I submit that the settlement should be approved.

 7              I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE STATE
                OF WASHINGTON THAT THE FOREGOING IS TRUE AND CORRECT.
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                Dated this 20th day of June, 2018 at Seattle, Washington.
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                                                            By: /s/ Edmund J. Wood
11                                                          Edmund J. Wood
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                                                                                       KATHRYN A. ELLIS, ESQ.
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     DECLARATION OF TRUSTEE IN SUPPORT                                                       Seattle, WA 98108
     OF MOTION TO APPROVE SETTLEMENT - 4                                                      (206) 682-5002


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